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             IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA    13ft.6
                         SAVANNAH DIVISION
                                                     OLE
JIMMY LEE EVERETT,

        Petitioner,

V.                                         CASE NO. CV411-150

UNITED STATES OF AMERICA,

        Respondent.


                             ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation, to which no objections have been filed.

(Doc. 47.) After a careful de novo review of the record,

the report and recommendation        is ADOPTED    as the Court's

opinion in this case, and the 28 U.S.C. § 2255 Petition is

DENIED.' The Clerk of Court is DIRECTED to close this case.

        SO ORDERED this        day of March 2013.




                                  WILLIAM T. MOORE, JR.'
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




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     As a result, any pending motions are DISMISSED AS MOOT.
